
In re Vessell, Norris, Sr.; — Plaintiffs); applying for supervisory and/or remedial writ; to the Court of Appeal, Fifth Circuit, No. 94-KW-1008; Parish of Jefferson, 24th Judicial District Court, Div. “M”, No. 93-2015.
Writ granted in part; otherwise denied. The district court is ordered to provide relator with the transcript of his guilty plea colloquy. State ex rel. Simmons v. State, 93-0275, p. 1 (La. 12/16/94), 647 So.2d 1094, 1095. In all other respects, relator’s application is denied. State ex rel. Bernard v. Criminal District Court, 94-2247 (La. 4/28/95), 653 So.2d 1174.
LEMMON, J., not on panel.
